 

Case 2:15-cv-11074-DML-DRG ECF No. 25 filed 09/12/19 PagelD.1033 Page 1 of QD

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Dear Court Clerk

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Clerk of The Cort

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